        Case 4:23-cv-00450-KGB            Document 63         Filed 11/08/24       Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

TAMARA LEIGH LUCUS                                                                        PLAINTIFF

v.                                 Case No. 4:23-cv-00450-KGB

JOHN S. STOBAUGH, et al.                                                              DEFENDANTS


                                               ORDER
        Before the Court is plaintiff Tamara Leigh Lucus’s motion to compel (Dkt. No. 33).

Defendants John S. Stobaugh, John S. Stobaugh, P.A., and Schnipper, Britton & Stobaugh

(“Defendants”) responded (Dkt. No. 35). Ms. Lucus replied (Dkt. No. 36). The Court examines

each discovery request at issue in the motion and, under the circumstances of this case, will not

rest its ruling on efforts to confer in good faith prior to filing the motion or timeliness of the motion

(Dkt. No. 35, at 2–4). For the following reasons, the Court grants, in part, and denies, in part, Ms.

Lucus’s motion to compel (Dkt. No. 33).

        I.      Requests For Production Nos. 1, 2, And 3

        Ms. Lucus’s Request for Production No. 1 requests that Defendants “[p]roduce [their]

entire file regarding [Ms. Lucus] including all billing statements, engagement contracts, proof of

payment, and [their] work product.” (Id., at 3). In response to Ms. Lucus’s Request for Production

No. 1, Defendants object and state: “This request is vague, overbroad and seeks information

protected from disclosure of attorney-client privilege, attorney work-product and seeks

information prepared in anticipation of litigation.” Defendants end their response to the request

with “[n]otwithstanding” followed by directing Ms. Lucus to review documents Defendants

already produced (Id.).
       Case 4:23-cv-00450-KGB           Document 63       Filed 11/08/24      Page 2 of 5




       In her Request for Production No. 2, Ms. Lucus requests “all documents provided” to

Defendants by Ms. Lucus (Id.). Defendants object to this request and claim “[a]ny and all

documents provided by [Ms. Lucus] are accessible to [Ms. Lucus]. Notwithstanding” the

objection, Defendants instruct Ms. Lucus to see documents previously produced (Id.).

       Ms. Lucus’s Request for Production No. 3 requests “all email correspondence between

[Defendants] and anyone regarding [Defendants’] representation of [Ms. Lucus], including [Ms.

Lucus], Tammy Gattis, and the Mediator.” (Id., at 4). In response to this request, Defendants

reassert their objection offered in response to Request for Production No. 1 and instruct Ms. Lucus

to see another set of documents previously produced (Id.).

       In support of her position that Defendants should be compelled to answer her Requests for

Production, Ms. Lucus cites Taylor-Shaw v. Bestway Rent-to-Own, Case No. 5:09CV00329 JLH,

2010 WL 2998796 (E.D. Ark. July 28, 2010) (Dkt. Nos. 33, ¶ 9; 34, at 2). In Taylor-Shaw, United

States District Judge J. Leon Holmes wrote:

       [T]he difficulty is that when a discovery response begins with an objection and then
       an answer is given “subject to and without waiving” the objection, the opposing
       party has no way to know if the answer is full and complete or whether information
       has been withheld as a result of the objection. On the one hand, if no information
       has been withheld, the objection would seem to be gratuitous. On the other hand,
       if information has been withheld, the party seeking discovery is entitled to know
       whether information has been withheld, and if so, what the nature of the information
       is, so that she can contest the objection.

Taylor-Shaw, 2010 WL 2998796, at *3.

       The Court agrees that the Taylor-Shaw reasoning is applicable to Defendants’ responses to

Requests for Production Nos. 1, 2, and 3. Unlike the defendant in Taylor-Shaw who followed its

objection to the discovery request with “[s]ubject to and without waiving the foregoing

objections,” Taylor-Shaw, 2010 WL 2998796, at *3, here Defendants followed their objections to

the Requests for Production at issue in the motion with “[n]otwithstanding” coupled with language

                                                2
       Case 4:23-cv-00450-KGB           Document 63          Filed 11/08/24   Page 3 of 5




directing Ms. Lucus’s attention to documents already produced (Dkt. No. 33, at 3–4). Though the

language differs, the substance of Defendants’ approach to the discovery request is in effect the

same as the defendant in Taylor-Shaw; “the opposing party has no way to know if the answer is

full and complete or whether information has been withheld as a result of the objection.” Taylor-

Shaw, 2010 WL 2998796 at *3. Therefore, the reasoning in Taylor-Shaw applies to Defendants’

responses to the Requests for Production Nos. 1, 2, and 3.

       Defendants claim that they “completely” responded to Requests for Production Nos. 1 and

2 and that Request for Production No. 3 “clearly encompasses email correspondence between

Defendants and current counsel.” (Dkt. No. 35, at 5). The Court instructs Defendants within 14

days from the entry of this Order either: (1) to respond to Requests for Production Nos. 1, 2, and

3 by identifying generally responsive information withheld on the basis of the objections asserted

by Defendants and specifically to produce a privilege log, if information or documents are withheld

on the basis of a claim of attorney-client privilege or work-product doctrine, so that Ms. Lucus

may assess whether to challenge the responses; or (2) to withdraw the objections based on

Defendants’ responses.

       II.     Request For Production No. 4

       Ms. Lucus’s Request for Production No. 4 requests “all pleadings filed by [Defendants] on

behalf of” Ms. Lucus (Dkt. No. 33, at 4). Ms. Lucus claims that this request should be answered

because it is unclear if any pleadings were filed under seal (Dkt. No. 34, at 3). Defendants object

claiming that “[p]leadings are available to [Ms. Lucus] as it is to Defendants as they are public

records” and instructed Ms. Lucus to see the underlying divorce matter in the Saline County Circuit

Court (Dkt. No. 33, at 4). Defendants further claim that all pleadings are public record, and none

were filed under seal (Dkt. No. 35, at 5). Because no pleadings were filed under seal and all



                                                3
       Case 4:23-cv-00450-KGB            Document 63       Filed 11/08/24      Page 4 of 5




pleadings are public record equally available to Ms. Lucus, Ms. Lucus’s motion to compel

Defendants to respond to Request for Production No. 4 is denied.

       III.    Request For Production No. 5

       Ms. Lucus’s Request for Production No. 5 requests “all documents received by

[Defendants] in discovery in [their] representation” of Ms. Lucus (Dkt. No. 33, at 4). Defendants

object claiming “[t]his request is vague, overbroad and unduly burdensome. This request also

seeks information prepared in anticipation of litigation and protected from disclosure by the

attorney-client privilege and work product doctrine.” (Id.). Defendants followed their objection

with nearly the same language that the defendant in Taylor-Shaw used: “[s]ubject to and without

waiving the objection stated herein, there are none.” (Id.). Defendants then claim that it is unclear

what Ms. Lucus means by “discovery” in her request and ask that she specify what she means (Id.).

       The Court is unpersuaded by Defendants’ claim that Defendants do not understand what

Ms. Lucus means by “discovery.” Further, for the reasons discussed above, the reasoning from

Taylor-Shaw applies to Defendants’ response to Request for Production No. 5. Therefore, the

Court instructs Defendants within 14 days from the entry of this Order either: (1) to respond to

Request for Production No. 5 by identifying generally responsive information withheld on the

basis of the objections asserted by Defendants and specifically to produce a privilege log, if

information or documents are withheld on the basis of a claim of attorney-client privilege or work-

product doctrine, so that Ms. Lucus may assess whether to challenge the response; or (2) to

withdraw the objections based on Defendants’ response.




                                                 4
       Case 4:23-cv-00450-KGB          Document 63        Filed 11/08/24    Page 5 of 5




       IV.    Conclusion

       For the foregoing reasons, the Court grants Ms. Lucus’s motion to compel with respect to

Requests for Production Nos. 1, 2, 3, and 5 and denies Ms. Lucus’s motion with respect to Request

for Production No. 4 (Dkt. No. 33).

       It is so ordered this 8th day of November, 2024.

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                                                    Kristine G. Baker
                                                    Chief United States District Judge




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